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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


    FAIR FIGHT ACTION, et al.,

          Plaintiffs,                                Civil Action File
    v.                                               No. 1:18-cv-05391-SCJ
    BRAD RAFFENSPERGER, in his official
    Capacity as Secretary of State of Georgia;
    et al.,

          Defendants.


           STATE DEFENDANTS’ RENEWED MOTION TO DISMISS
                  PLAINTIFFS’ AMENDED COMPLAINT

         NOW COME DEFENDANTS, Brad Raffensperger, in his official capacity

as Secretary of State of the State of Georgia and Chairman of the State Election

Board of Georgia (“Secretary Raffensperger”), Rebecca N. Sullivan, David J.

Worley, Anh Lee, 1 and Seth Harp, in their official capacities as members of the

State Election Board (collectively, “State Election Board Members”), and the State

Election Board by and through their undersigned counsel, and move to dismiss

Plaintiffs’ Amended Complaint, stating as follows:




1
    Replacing Ralph “Rusty” Simpson pursuant to Fed. R. Civ. P. 25(d).
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      1.       Plaintiffs’ Complaint should be dismissed for failure to adequately

establish standing under Article III of the United States Constitution. In order to

establish standing, Plaintiffs must allege sufficient facts to demonstrate a

“[1] concrete, particularized, and actual or imminent [harm]; [2] fairly traceable to

the challenged action; and [3] redressable by a favorable ruling.” Monsanto Co. v.

Geerston Seed Farms, 561 U.S. 139, 149 (2010).

      2.       Plaintiffs have not alleged a concrete and particularized injury. An

injury “must actually affect the plaintiff in a personal and individual way,” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992), and “must also be concrete . . .

that is, it must actually exist.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548

(2016). Here, Plaintiffs, all organizations, have alleged no harm other than

fulfilling of their corporate missions or, alternatively, threatened injuries that are

too speculative in nature. Fla. State Conf. of the NAACP v. Browning, 522 F.3d

1153, 1163. (11th Cir. 2008).

      3.       Plaintiffs’ alleged injury is not fairly traceable to the Defendants nor

to the challenged conduct of the Defendants. Clapper v. Amnesty Int’l USA, 568

U.S. 398, 409, 133 S. Ct. 1138 (2013) (citing Whitmore v. Arkansas, 495 U.S. 149,

158 (1999)).




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      4.       The injury alleged by Plaintiffs is not redressable to actions of the

Defendants. Redressability requires a court to consider whether deciding in the

plaintiffs’ favor would increase the likelihood “that the plaintiff would obtain relief

that directly redresses the injury suffered.” Mulhall v. UNITE HERE Local 355,

618 F.3d 1279, 1290 (11th Cir. 2010). Plaintiffs cannot show Redressability

because, even if the Court grants every remedy sought by Plaintiffs, they would not

obtain any relief from the sole injury they allege. Plaintiffs would still be spending

resources on their primary mission—educating voters and assisting voter turnout

operations.

      5.       Plaintiffs failed to join necessary parties.   As a consequence of

Plaintiffs’ erroneous contention that state (and not local) government officials

administer elections, the Complaint is also subject to dismissal under Federal Rules

of Civil Procedure 12(b)(7) and 19. Plaintiffs’ claims generally focus on the

alleged improper administration of Georgia’s 2018 general election. Plaintiffs,

however, failed to name the government entities that actually carried out the

election: county election boards and officials. As such, Counts One through Five

and parts of Count Six, including HAVA claims against the State Election Board,

must be dismissed.




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      6.       Plaintiffs’ Amended Complaint repeatedly alleges that the inaction of

Defendants and various actions of local county election officials amount to an

unconstitutional failure to train by Defendants, but Plaintiffs have failed to

establish a supervisory relationship between Defendants and the local election

officials whose conduct is complained of. Even if such a relationship and training

duty existed, Plaintiffs’ allegations still fail to state a claim for which relief can be

granted. They have not alleged any specific deficiencies in any training, nor have

Plaintiffs sufficiently alleged that such deficient training amounted to a deliberate

indifference, City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989), citing only

isolated conduct by local election officials. As such, Plaintiffs’ Constitutional

claims based on a failure to train theory should be dismissed.

      7.       Plaintiffs’ claims in Counts I-V of the Amended Complaint predicated

on voter list maintenance should be dismissed for failure to state a claim.

Maintaining an accurate voter list using the process in O.C.G.A. § 21-2-234 is part

of the state’s important regulatory interests. The Supreme Court recognized this

fact in reviewing Ohio’s list maintenance procedures last year, processes which are

nearly identical to those mandated by Georgia’s statute. Husted v. A. Philip

Randolph Inst., 584 U.S. ___, 138 S. Ct. 1833 (2018).




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      8.       The Eleventh Amendment bars Plaintiffs’ claims against the State

Election Board. The Eleventh Amendment to the United States Constitution

affords states immunity from suits, both legal and equitable and extends to state

agencies like the State Election Board. Kentucky v. Graham, 473 U.S. 159 (1985).

      9.       Plaintiffs’ constitutional claims against the State Election Board as

enforced by 42 U.S.C. § 1983 fail to state a claim. 42 US.C. § 1983 provides a

cause of action for any “person” acting under color of law. The State Election

Board is not a “person” within the meaning of § 1983. Will v. Mi. Dep’t of State

Police, 491 U.S. 58, 65 (1989).

      10.      Plaintiffs’ complaint is a shotgun pleading, every count incorporates

by reference each of the 157 preceding paragraphs. See Chudasama v. Mazda

Motor Corp., 123 F.3d 1353, 1359 n. 9 (11th Cir. 1997). As such, Defendants

have no way of knowing which allegations pertain to which Defendant. Defendants

have therefore not been given adequate notice of the Plaintiffs’ claims which

mandates dismissal or, at minimum, a more definite statement. Id.

      11.      For the foregoing reasons, and the reasons stated in the attached Brief

in Support of this Motion, Plaintiffs’ Amended Complaint must be dismissed.




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      WHEREFORE, Defendants respectfully request this Court dismiss

Plaintiffs’ Amended Complaint in its entirety, with prejudice, and grant such other

relief as this Court deems just and proper.


      This 5th day of March, 2019.


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FAIR FIGHT ACTION, et al.,

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vs.                                              No. 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State of Georgia; et al.,

       Defendants.


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this date electronically filed the foregoing

STATE DEFENDANTS’ RENEWED MOTION TO DISMISS PLAINTIFFS’

AMENDED COMPLAINT with the Clerk of the Court using the CM/ECF

system which will automatically send email notification of such filing to the

attorneys of record listed on the case.

      This 5th day of March, 2019.


                                 /s/ Josh B. Belinfante
                                 Josh B. Belinfante
                                 GA Bar No. 047399
